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MMH_HS uij C;r L.-i, ...;".'.“7‘~.10
vs_ ) MOQHWB 0336- §§ FM
ROBERT KIMBREL, _

Defendant. )
f terms .._-
MoTIoN ro EXTEND ran FoR DEFENDANT ro FILE
MEMORANDUM oF LAw

 

Comes now Robert Kimbrel, Defendant, by and through his counsel, Robert
C. Irby, and respectfully moves the Court for an extension of the time in which the
Defendant is required to file his memorandum of law, following the suppression
motion hearing, and in support of Which would show unto the Court the following:

1. The Defendant is supposed to file his memorandum of law, briefing the issues
raised in the suppression motion hearing previously heard by the Court, within
fourteen days after receipt of the transcript of the suppression motion hearing;

2. Defendant respectfully requests the Court for an additional one week in
order to tile his memorandum of law, on the basis that the issues are important and
your Defendant needs to carefully consider his response on those issues;

3. Further, your Defendant would like the extra tirne, also, to carefully consider
whether or not the indictment of Charles Smith, a police officer who was involved
in the March 29, 2003, stop and arrest of your Defendant, may have any impact

which should be raised while the Court is considering these suppression motion

This document entered on the docket sheet in compliance
W`\th Hu|e 55 and/or 32(b) FHCrP on Q/q

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issues in this cause;
WHEREFORE, Defendant respectfully prays the Court for an additional seven
days in which to file his brief on the suppression motion hearing issues.

Respectfully Submitted,

M_

Robert C. Irby, Atty., BPR08472
4345 Mallory Ave. East
Mernphis, Tennessee 38111
682-7775

August 23, 2005

CERTIFICATE OF SERVICE
l hereby certify that a copy of the foregoing Motion will have been delivered to

the intake window at the office of Mr. David Prichard, Esq., AUSA, 167 No. Main St.,
8th Floor, Memphis, Tennessee 38103, by hand, before the Court sees it.

    

Robert C. Irby
August 23, 2005

   

UN1TED SETATS D1STR1CT COURT - WESRTE DISTR1CT TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 99 in
case 2:03-CR-20336 was distributed by faX, mail, or direct printing on
August 25, 2005 to the parties listed.

 

 

Robert C. Irby

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l\/lemphis7 TN 381 ll

David Pritchard

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167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Jon McCalla
US DISTRICT COURT

